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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 MERCHANTS        BONDING              COMPANY )
 (MUTUAL), an Iowa corporation,                )
                                               )
                            Plaintiff,         )
                                               )     Case No.
                                               )
 CHAGRIN VALLEY PAVING, INC., PAUL A. )
 PHILLIPS, an individual, KARA L. PHILLIPS, an )
 individual, KAHILL CONTRACTORS, LLC, f/k/a )
 CHAGRIN VALLEY PAVING, LLC, PHILLIPS )
 NATIONAL PAVING GROUP, LLC, PHILLIPS )
 FAMILY ENTERPRISES, LLC, and STORE IT, )
 LOCK IT, LEAVE IT, LLC,                       )
                                               )
                            Defendants.        )

                                     COMPLAINT

       Plaintiff, MERCHANTS BONDING COMPANY (MUTUAL) (“Merchants”), by and

through its undersigned counsel, for its Complaint against Defendants, CHAGRIN VALLEY

PAVING, INC. (“CVP Inc.”), PAUL A. PHILLIPS (“Paul”), an individual, KARA L. PHILLIPS

(“Kara”), an individual, KAHILL CONTRACTORS, LLC, f/k/a CHAGRIN VALLEY PAVING,

LLC (“CVP LLC”), PHILLIPS NATIONAL PAVING GROUP, LLC (“Phillips National”),

PHILLIPS FAMILY ENTERPRISES, LLC (“Phillips Family”) and STORE IT, LOCK IT, LEAVE

IT, LLC (“Store It”) (foregoing Defendants hereinafter collectively “Defendants” and/or

“Indemnitors”), states as follows:




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                                            PARTIES

       1.      Merchants is an Iowa insurance corporation, organized and existing under the laws

of the State of Iowa, with its principal place of business at 6700 Westown Parkway, West Des

Moines, IA 50266-7754.

       2.      Defendant CVP Inc. is an Ohio corporation for profit, organized and existing under

the laws of the State of Ohio, which can be served through its registered agent and President, Paul

A. Phillips, at 17290 Munn Road, Chagrin Falls, Geauga County, OH 44023, and which upon

information and belief, according to its website chagrinvalleypaving.com and other publicly-

available online information, maintains its principal place of business at 17290 Munn Road,

Chagrin Falls, OH 44023.

       3.      Defendant Paul is an individual, and is the husband of Kara, who is being sued in

his individual capacity as an “Indemnitor,” and who, upon information and belief, based upon

publicly-available online information, may be served at his residence at 10601 Stafford Rd.,

Auburn Twp., OH 44023-5243.

       4.      Defendant Kara is an individual, and is the wife of Paul, who is being sued in her

individual capacity as an “Indemnitor,” and who, upon information and belief, based upon

publicly-available online information, may be served at her residence at 10601 Stafford Rd.,

Auburn Twp., OH 44023-5243.

       5.      Defendant CVP LLC, upon information and belief, is now known as Kahill

Contractors, LLC, and is an entity which purports to be an Ohio limited liability company, as listed

with the Ohio Secretary of State under the entity name of Kahill Contractors, LLC, and which can

be served through its registered agent R&A Agents, Inc., 1375 E. 9th St., Ninth Floor, Cleveland,

OH 44114.



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       6.      Merchants, after a diligent search of its own records and publicly-available

information online, including but not limited to a review of the websites of the Ohio Secretary of

State and Iowa Secretary of State, and upon information and belief, alleges that: (1) CVP LLC was

fully owned by Paul, as its sole member, as of March 17, 2010; (2) while Merchants is presently

unable to determine the exact, current members of CVP LLC, Merchants believes that the only

potential, current members include Paul, Kara, and/or one or more of their children/family

members, Paxton Phillips (“Paxton”), Kyler Phillips (“Kyler”), Ever Phillips (“Ever”), and Onyx

Phillips (“Onyx”), all of whom reside at 10601 Stafford Rd., Chagrin Falls, Geauga County, OH

44023; (3) Merchants is unaware of whether any additional, actual or potential members of CVP

LLC exist, and if so, the citizenship of any other such additional, actual or potential members; (4)

Merchants is presently unable to find any evidence indicating that one or more members or

potential members of CVP LLC is or are citizens of the State of Iowa; (5) CVP LLC is therefore a

citizen of the State of Ohio; and (6) Merchants therefore seeks, and reserves the right to conduct

discovery to further establish the potential identities/citizenship of any and all members of CVP

LLC, as relating to this Court’s subject-matter jurisdiction.

       7.      Defendant Phillips National is an Ohio domestic limited liability company,

organized and existing under the laws of the State of Ohio, which can be served through its

registered agent R&A Agents, Inc., National City Center, 155 E. Broad St., 12 th Floor, Columbus,

OH 43215.

       8.      Merchants, after a diligent search of its own records and publicly-available

information online, including but not limited to a review of the websites of the Ohio Secretary of

State and Iowa Secretary of State, and upon information and belief, alleges that: (1) Phillips

National was fully owned by Paul, as its sole member, as of approximately May 10, 2020; (2)



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while Merchants is presently unable to determine the exact, current members of Phillips National,

Merchants believes that the only potential, current members include Paul, Kara, and/or one or more

of their children/family members, Paxton Phillips (“Paxton”), Kyler Phillips (“Kyler”), Ever

Phillips (“Ever”), and Onyx Phillips (“Onyx”), all of whom reside at 10601 Stafford Rd., Chagrin

Falls, Geauga County, OH 44023; (3) Merchants is unaware of whether any additional, actual or

potential members of Phillips National exist, and if so, the citizenship of any other such additional,

actual or potential members; (4) Merchants is presently unable to find any evidence indicating that

one or more members or potential members of Phillips National is or are citizens of the State of

Iowa; (5) Phillips National is therefore a citizen of the State of Ohio; and (6) Merchants therefore

seeks, and reserves the right to conduct discovery to further establish the potential

identities/citizenship of any and all members of Phillips National, as relating to this Court’s

subject-matter jurisdiction.

       9.      Defendant Phillips Family is an Ohio domestic limited liability company, organized

and existing under the laws of the State of Ohio, which can be served through its registered agent

Paul A. Phillips, 7700 Bond Street, Solon, OH 44139. The Restated Operating Agreement of

Phillips Family, dated January 23, 2018, attached hereto and incorporated herein by reference as

Exhibit B, lists the initial members of Phillips Family on pp. 4 and 17 thereof, and specifically

Kara, Paxton, Kyler, Ever and Onyx, each of whom are listed therein as maintaining addresses at

10601 Stafford Rd., Chagrin Falls, Geauga County, OH 44023.

       10.     Merchants, after a diligent search of its own records and publicly-available

information online, including but not limited to a review of the websites of the Ohio Secretary of

State and Iowa Secretary of State, and upon information and belief, alleges that: (1) while

Merchants is presently unable to determine the exact, current members of Phillips Family,



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Merchants, it believes that the only potential, current members include Paul, Kara, and/or one or

more of their children/family members, Paxton Phillips (“Paxton”), Kyler Phillips (“Kyler”), Ever

Phillips (“Ever”), and Onyx Phillips (“Onyx”), all of whom reside at 10601 Stafford Rd., Chagrin

Falls, Geauga County, OH 44023; (2) Merchants is unaware of whether any additional, actual or

potential members of Phillips Family exist, and if so, the citizenship of any other such additional,

actual or potential members; (3) Merchants is presently unable to find any evidence indicating that

one or more members or potential members of Phillips Family is or are citizens of the State of

Iowa; (4) Phillips Family is therefore a citizen of the State of Ohio; and (5) Merchants therefore

seeks, and reserves the right to conduct discovery to further establish the potential

identities/citizenship of any and all members of Phillips Family, as relating to this Court’s subject-

matter jurisdiction.

       11.     Defendant Store It is an Ohio domestic limited liability company, organized and

existing under the laws of the State of Ohio, which can be served through its registered agent R&A

Agents, Inc., 1375 E. 9th St. – Ninth Floor, Cleveland, OH 44144.

       12.     Merchants, after a diligent search of its own records and publicly-available

information online, including but not limited to a review of the websites of the Ohio Secretary of

State and Iowa Secretary of State, and upon information and belief, alleges that: (1) Store It was

fully owned by Paul, as its sole member, as of March 17, 2010; (2) while Merchants is presently

unable to determine the exact, current members of Store It, Merchants believes that the only

potential, current members include Paul, Kara, and/or one or more of their children/family

members, Paxton Phillips (“Paxton”), Kyler Phillips (“Kyler”), Ever Phillips (“Ever”), and Onyx

Phillips (“Onyx”), all of whom reside at 10601 Stafford Rd., Chagrin Falls, Geauga County, OH

44023; (3) Merchants is unaware of whether any additional, actual or potential members of Store



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It exist, and if so, the citizenship of any other such additional, actual or potential members; (4)

Merchants is presently unable to find any evidence indicating that one or more members or

potential members of Store It is or are citizens of the State of Iowa; (5) Store It is therefore a citizen

of the State of Ohio; and (6) Merchants therefore seeks, and reserves the right to conduct discovery

to further establish the potential identities/citizenship of any and all members of Store It, as relating

to this Court’s subject-matter jurisdiction.

                                  JURISDICTION AND VENUE

        13.     This court has subject matter jurisdiction over this cause under 28 U.S.C. §

1332(a)(1) in that the matter in controversy, exclusive of interest and costs, exceeds the sum or

value of $75,000 and for the reasons alleged in the foregoing paragraphs is between citizens of

different States.

        14.     Venue is proper under 28 U.S.C. §1391 because: (1) a substantial part of the events

or omissions giving rise to the claim(s) as set forth in this instant Complaint occurred in the judicial

district for the Northern District of Ohio and within the Eastern Division of said judicial district;

and/or (2) one or more of the Defendants named in this Complaint reside in the judicial district for

the Northern District of Ohio and within the Eastern Division of said judicial district, and upon

information and belief, all of the Defendants reside in the State of Ohio, based upon information

maintained by the Ohio Secretary of State, and based upon the circumstances alleged in the

foregoing paragraphs.

                              FACTS COMMON TO ALL COUNTS

        15.     At all times pertinent to this action, and according to its website,

www.chagrinvalleypaving.com, CVP Inc. has been in the business of providing services related to




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asphalt paving and/or resurfacing (including but not limited to road/street paving and parking lots)

for various public and private entities.

       16.     In order to perform paving, resurfacing and related services on various projects,

CVP, Inc. was statutorily, contractually and/or otherwise legally required to obtain certain surety

bonds, including, but not limited to, payment, performance, and bid bonds, to guarantee CVP’s

contractual obligations and/or compliance with applicable State law.

       17.     As a condition for Merchants extending surety credit to CVP Inc., Merchants

required CVP, Inc., as “Contractor” and as “Indemnitor,” to execute a General Application and

Agreement of Indemnity – Contractors Form (“Indemnity Agreement”) Commercial Surety

Agreement of Indemnity (the “Indemnity Agreement”) on or about April 2, 2010. (See Exhibit

A).

       18.     As a further condition for Merchants extending surety credit to CVP Inc.,

Merchants also required Defendants Paul (in his individual capacity), Kara (in her individual

capacity), CVP LLC, Phillips National, Phillips Family, and Store It, as “Indemnitors” (said

Defendants, along with CVP, Inc., hereinafter collectively referenced as “Indemnitors”) to execute

the above-referenced Indemnity Agreement, on or about April 2, 2010. (See Exhibit A).

       19.     The Indemnity Agreement requires Indemnitors, inter alia, to indemnify and keep

Merchants indemnified, against any and all liability, loss and expense of whatsoever kind or nature,

including, but not limited to, court costs, attorneys’ fees, and interest, which Merchants (as

“Company”) may sustain or incur as a result of or by reason of, among other things, Merchants’

execution of any bonds on behalf of CVP, Inc.

       20.     Specifically, the Indemnity Agreement provides, in relevant part, the following:

       SECOND: The Undersigned shall unconditionally indemnify and keep indemnified
       the Company against any and all liability, loss and expense of whatsoever kind or
       nature, including, but not limited to, court costs, attorneys' fees, and interest, which
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       the Company may sustain or incur (1) by reason of having executed or procured
       execution of any Bond or Bonds, (2) by reason of the failure of the Undersigned to
       perform or comply with this Agreement, or (3) to enforce any of the covenants and
       conditions of this Agreement The Undersigned agree to furnish money to the
       Contractor or to the Company as needed for the prompt payment of labor and
       materials used in performance of contracts guaranteed by a Bond when and as
       requested to do so by the Company. The Company shall have the exclusive right
       for itself and for the Undersigned to decide and determine whether any claim,
       demand. suit, or judgment shall, on the basis of liability, expediency or otherwise,
       be paid. settled, defended or appealed, and the Company's determination shall be
       final, conclusive and binding upon the Undersigned. . .

       (See, Exhibit A, at p. 2).

       21.     The Indemnitors agreed in the Indemnity Agreement that in the event of a loss, any
vouchers, affidavits, or other evidence of payments submitted by Merchants would constitute
prima facie evidence of the amount of Merchants’ loss and the Indemnitors’ liability.

       22.     Specifically, the Indemnity Agreement states:

        SECOND . . .Vouchers, affidavits or other evidence of payment by the Company
       of any loss, cost or expense shall be prima facie evidence of their propriety and the
       liability of the Undersigned to the Company for such loss, cost or expense. In the
       event of any payment by the Company, the Undersigned agree that in any
       accounting between the Company and the Undersigned, the Company shall be
       entitled to charge for any and all disbursements made by it in good faith in and
       about the matters contemplated by this Agreement under the belief that it is or was
       liable for the sums and amounts so disbursed, or that it was necessary or expedient
       to make such disbursements, whether or not such liability, necessity or expediency
       existed.

       (See, Exhibit A, at p. 2).

       23.     At the request of the Indemnitors, and in exchange for the rights and promises

contained in the Indemnity Agreement, Merchants, as surety, issued over 200 bonds on behalf of

CVP, Inc., as principal, in favor of various state and/or other public entities, as obligee, including,

but not limited to, the following bonds (the “Bonds”) in connection with certain construction

projects in the State of Ohio (“Bonded Projects”):




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    Bond                  Obligee                          Project                    Bond
   Number                                                                            Amount

 OHC 59120      Cuyahoga County OPD &         Project No. 21B-001; St. Clair      $1,976,777.00
                Ohio Department of            Avenue Bridge
                Transportation (“ODOT”)
 OHC 59146      ODOT                          Project No. 21B-0250; BH            $4,343,743.00
                                              FY2021(A) Part 1 and 2
 OHC 59176      ODOT                          Project No. 21B-0355; BH            $8,668,405.00
                                              FY2021(B) Misc.
 OHC 59293      ODOT                          Project No. 21B-0251; IR 71         $3,155,223.00
                                              Various Repair
 OHC 59294      ODOT                          Project No. 22-0140; SR 87 Four     $1,649,209.00
                                              Lane Resurfacing
 OHC 59306      ODOT                          Project No. 22D-0204; US 6 /        $5,198,024.00
                                              US 20-24
 OHC 59316      Bedford Heights               Project No. 22-038; 2022              $484,217.50
                                              Parking Lot Resurfacing
 OHC 59323      Moreland Hills                Project No. 22-039; Chagrin           $793,777.00
                                              Blvd. Resurfacing
 OHC 59324      Cleveland Heights             Project No. 22-029; 2022 Street       $840,163.00
                                              Resurfacing
 OHC 59325      Bainbridge Township           Project No. 22-023; Brainbridge     $2,060,859.00
                                              Haskins Rd. Reconstruction
 OHC 59341      Chester Township              Various Roads Reconstruction          $895,965.00
 OHC 59347      City of Wickliffe Ohio        Project No. 22-052; Lakeland        $1,694,884.00
                                              Blvd. Phase 2 OPWC
 OHC 59348      ODOT                          Project No. 22D-0515; SR 306      $2,276,024.00
 OHC 59471      City of Middleburg            Project No. 22-064; Street Repair $1,047,439.00
                Heights                       Phase 4

 OHC 59474      ODOT                          Project No. 23D-0028; SR 43         $2,984,867.00

       24.     The combined penal sum of the Bonds is no less than $38,069,576.50.

       25.     After Merchants issued the Bonds, CVP, Inc. approached Merchants in June 2023

and indicated it was experiencing financial difficulties. CVP, Inc. requested financial assistance



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from Merchants to continue operations in connection with the Bonded Projects through the end of

the 2023 paving season.

        26.     Merchants assisted CVP, Inc. by paying payment bond claims from various

subcontractors and suppliers of CVP., Inc., periodically assisting CVP, Inc. with payroll and other

overhead expenses, and resolving performance bond claims. With Merchants’ financial assistance,

CVP, Inc. completed all but seven of the Bonded Projects.

        27.     In early 2024, CVP, Inc. acknowledged that it lacked the financial wherewithal to

complete the remaining Bonding Projects without continued financial support from Merchants and

notified the obligees on the following Bonded Projects of its default (“Performance Default”):

  Project No.          Obligee                         Bond No.       Penal Sum
  21B-001              Cuyahoga County OPD &           OHC            $1,976,777
                       ODOT                            59120
  21B-0355             ODOT District 12                OHC            $8,668,405
                                                       59176
  21B-0521             ODOT District 12                OHC            $3,155,223
                                                       59293
  21B-0570             ODOT District 12                OHC            $4,547,750
                                                       59227
  22D-0515             ODOT –RT 306                    OHC            $2,276,024
                                                       59348
  23D-0028             ODOT- SR 43 Canton              OHC            $2,984,867
                                                       59474
  22-064               City of Middleburg Heights      OHC            $1,047,439
                                                       59471

        28.     Following the Performance Default, Merchants received claims on the performance

bonds from the respective obligees. Merchants resolved, and in some cases is still in the process

of negotiating resolution of, the performance bond claims.

        29.     As of April 21, 2025, Merchants has received, and has paid to date, combined Bond

Claims and related expenses totaling $$9,990,903.98 against the Bonds it issued on behalf of CVP,

Inc.


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       30.     In response to the loss incurred by Merchants in connection with the Bond Claims

and expected future losses, and given the foregoing circumstances, Merchants has made written

requests and demands to Indemnitors as recently as April 2024, demanding that they indemnify

and hold Merchants harmless in accordance with the Indemnity Agreement.

       31.     As of April 21, 2025, Indemnitors have not indemnified Merchants for any

amount(s) or posted any collateral.

       32.     In accordance with Paragraph SECOND of the Indemnity Agreement attached as

Exhibit A hereto, Merchants is entitled to indemnification against all past, current and future

losses it sustains by reason of having issued any of the Bonds, including reimbursement for current

and future attorneys’ fees, consulting fees, expenses and interest.

                                        COUNT I
             (Breach of Contract/Indemnity Agreement – Against All Defendants)

       33.     Merchants adopts and re-alleges paragraphs 1 through 32, supra, as paragraph 33

of this Count I as though fully set forth herein.

       34.     In accordance with the Indemnity Agreement, Indemnitors are obligated to, inter

alia: (a) indemnify Merchants from all losses resulting from its issuance of the Bonds and in

enforcing the terms of the Indemnity Agreement, consistent with Paragraph SECOND of the

Indemnity Agreement; and (b) post collateral to Merchants consistent with Paragraph

FOURTEENTH of the Indemnity Agreement. See, Exhibit A, ¶¶ SECOND and FOURTEENTH,

at pp. 2 and 4, respectively.

       35.     Despite Merchants’ demand, Indemnitors have breached the Indemnity Agreement

by: (a) failing and refusing to indemnify and hold Merchants harmless from the Bond claims; and

(b) failing and/or refusing to post collateral to Merchants in an amount sufficient to protect

Merchants from any and all actual and/or potential bond claims.


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         36.       Merchants has been damaged by Indemnitors’ material breach of the Indemnity

Agreement in the initial amount of at least $9,990,903.98, not including attorneys and consulting

fees, and not including additional anticipated damages as a result of additional Bond claims

received after April 21, 2025.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Merchants Bonding Company (Mutual), respectfully requests

that this Court enter an Order:

 (a)     Finding and/or declaring that each of the Indemnitors breached the Indemnity Agreement
         by refusing and/or otherwise failing to indemnify and reimburse Merchants for its
         combined bond claim losses and expenses in the amount of $9,990,903.98 or the amount
         of Merchants’ actual loss at the time of entry of the Court’s order;

 (b)     Entering judgement against Indemnitors in favor of Merchants for monetary damages in
         an amount no less than Merchants’ current losses and expenses to date of $9,990,903.98,
         plus all additional losses, including, but not limited to, loss Merchants suffers as a result of
         additional Bond payments made after April 21, 2025, and attorneys’ fees, consulting fees,
         costs, expenses and interest incurred in the prosecution of the instant lawsuit; and

 (c)     Providing for any and all such additional relief, including but not limited to injunctive
         relief, as this Court deems equitable and just.

Dated: April 25, 2025.           Respectfully Submitted,

                                         MERCHANTS BONDING COMPANY (MUTUAL)

                                         By: ___/s/ Frank J. Marsico______
                                                One of Its Attorneys

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